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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND
                                     Baltimore Division
IN RE:

DEBRA WESTERFELD                                     Chapter 13
                                                     Case No. 21-12452-NVA
             Debtor

COMMUNITY LOAN SERVICING, LLC, A                     Ref No. 18
DELAWARE LIMITED LIABILITY
COMPANY

             Movant

v.

DEBRA WESTERFELD
7703 OLD BATTLE GROVE ROAD
DUNDALK, MD 21222
         (Debtor)

ROBERT S. THOMAS II
300 E JOPPA ROAD, SUITE 409
TOWSON, MD 21286
          (Trustee)

             Respondents

                               OBJECTION TO CONFIRMATION


Community Loan Servicing, LLC, a Delaware Limited Liability Company by its undersigned

attorneys, Orlans PC, hereby objects to the confirmation of the Chapter 13 plan filed by the

Debtor Debra Westerfeld (“Debtor”), and as grounds therefore states as follows:

1.       On or about September 7, 2011, Debra Westerfeld and Earl J. Westerfeld executed and

         delivered to Suntrust Mortgage, Inc. a promissory note (the “Note”) in the amount of

         EIGHTY-THREE THOUSAND FIVE HUNDRED SIXTY DOLLARS AND NO CENTS

         ($83,560.00), plus interest.
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2.     Debra Westerfeld and Earl J. Westerfeld executed a Deed of Trust to Suntrust Mortgage,

       Inc. dated September 7, 2011. The Deed of Trust is a first mortgage on real property

       owned by the Debtor known and numbered as 7703 Old Battle Grove, Dundalk, MD

       21222.

3.     The current holder of the loan is Community Loan Servicing, LLC, and Debtor identifies

       the Creditor in their schedules.

4.     In Section 4.6.2 of the Plan the Debtor identifies Suntrust Bank, and states an arrearage of

       $15,095.20 is being cured.

5.     In section 4.6.5 of the Plan the Debtor identifies multiple Creditors, but not Community

       Loan Servicing, LLC, as being paid outside of the plan.

6.     The Debtor’s Chapter 13 Plan is unclear how it intends to address Community Loan

       Servicing, LLC.

7.     As of April 14, 2021, the pre-petition arrearage was approximately $1,030.58. This figure

       is an estimate, subject to revision pending the filing of a formal proof of Claim by the

       Creditor.

8.     If the Plan is amended after the filing of the Proof of Claim to treat the arrearage alleged in

       the Proof of Claim through pre petition arrearage cure payments to the Trustee and direct

       post petition payments to the Creditor, this objection will be deemed resolved.

       WHEREFORE, Community Loan Servicing, LLC, a Delaware Limited Liability

Company, by and through its attorneys prays that Confirmation be denied.
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Date: 6/4/2021
                                     Respectfully submitted,


                                     ____/s/ Paul J. Moran_________________
                                     James E. Clarke, Bar #15153
                                     John E. Tarburton, Bar #26398
                                     Paul J. Moran, Bar #19595
                                     Elizabeth M. Abood-Carroll, Bar #20631
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                                  CERTIFICATE OF SERVICE

       The undersigned states that on June 4, 2021, copies of the foregoing Objection to
Confirmation were filed with the Clerk of the Court using the ECF system, which will send
notification of such filing to the following:

Robert S. Thomas II
300 E Joppa Road, Suite 409
Towson, MD 21286
ECF@ch13balt.com
Bankruptcy Trustee

William Frederick Steinwedel
Maryland Legal Aid Bureau
500 E. Lexington Street
Baltimore, MD 21202
wsteinwedel@mdlab.org
Debtor’s Attorney

and I hereby certify that I have caused to be mailed by first class mail, postage prepaid, copies of
the foregoing Objection to Confirmation to the following non-ECF participants:

Debra Westerfeld
7703 Old Battle Grove Road
Dundalk, MD 21222
Debtor

                                                        /s/ Paul J. Moran
                                                James E. Clarke, Esquire
                                                John E. Tarburton, Esquire
                                                Paul J. Moran, Esquire
                                                Elizabeth M. Abood-Carroll, Esquire
